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                             UM TED STATESDISTRICT COURT
                             SOUTH ERN DISTRICT OF FLO RIDA

                                 C A SE N O .22-C R -20030-FAM


  UN ITED STA TES OF A M ERICA



 ALEJANDRO ALVAREZ,
                Defendant.
                                             /

                                     IU A AGREEV ENT
         TheUnitedStatesAttonzey'sOfscefortheSouthel'
                                                    nDistrictofFloridaCçthisOfsce'land
  AlejandroAlvarezCGdefendanf')enterintothefollowingagreement:
                The defendantagreesto plead guilty to count2 ofIndictm ent,which'chargesthe

  defendantwith distribution of child pom ography,in violation of Title 18,United StatesCode,

  Section2252(a)(2)arïd(b)(1).
         2.     This Office agrees to seek dism issalof counts 1 alzd 3 of the indictm entafter

  sentencing.

                The defendant is aware that the sentence will be imposed by the Cotlrtafter

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
  Gtsentencing Guidelines'').The defendant acknowledges.
                                                       and tmderstands thatthe Courtwill
  computean advisory sentence underthe Sentencing Guidelinesand thatthe applicableguidçlines

  willbedeterminedby theCourtyelying in parton theresultsofapre-sentenceinvestigatioriby the

  Court'sprobation ofsce,whichinvestigation willcom menceaftertheguiltypleahasbeen entered.

  The defendantis also aware that,under certain circumstances,the Courtm ay depart9om the

  advisory sentencing guideline range that ithas com puted and m ay raise or low er that advisory
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  sentenceundertheSentencing Guidelines.Thedefendantisfurtherawareand understandsthatthe

  Courtis required to consider the advisoly guideline range determ ined under the Sentencing

  Guidelinesbutisnotboundtoimposeasentence withinthatadvisory range;theCourtispermitted

  to tailortheultim atesentencein lightofotherstatutory concem s,and such sentencem ay beeither

  more severeorlesssevere than the Sentencing Guidelines'advisory range.Knowing these facts,

  the defendant understands and acknowledges thatthe Courthas the authority to impose any

  sentencewithin and up to the stamtory m aximum authorized by law forthe oflknse identified in

  paragraph 1and thatthe defendantmay notwithdraw theplea solely asa resultofthe sentence

  imposed.
         4.     Thedefendantalso understandsandacknowledges'thatwithrespectto Count2,the

  Courtm ustim pose a m inim um term of im prisonmentof 5 years and may impose a statutory

  maxim um term ofimprisonmentofup to 20 years,followed by a term ofsupervised releaseofat

  least5 yearsandup to life.In addition to aterm ofimprisonmentandsupervisedrelease,theCourt

  m ay imposea fineofup to $250,000 asto each countofconviction and m ustorderrestitution.
                The defendant further understands and acknowledges that, in addition to any

  sentenceimposed underparagraph 4 ofthisagreem ent,pursuantto Title 18,United StatesCode,

  Section 3013,é specialassessm entin the nm ount of$100,willbe imposed on the defendant.

  Pursuantto 18U.S.C.j3014,thedefendantisrequiredtopayanadditionalspecialassessmentin
  theamountof$5,000ifhe issentenced by September 11,2022,orifCongressextendsthespecial
  assessmentbeyond its currentexpiration date of September 11,2022.Ifthe specialassessm ent

  appliesand defendantisindigent,orothem ise financially unable to pay thisspecialassessm ent




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  amount,the defendantagrees to presentevidence to this Ofsce and the Courtat the tim e of
                                                                                                      )
  sentencing asto thereason.forthe defendant'sfailureto pay.

         6.     Pursuantto Title 18,United StatesCode,Section 2259,m andatory restitution m ay

  beordered in thiscase. Onceavidtim 'slossesarecalculated,pursuantto Title 18,United States

  Code,Section 2259(b)(2)(B),the Courtshallorder restitution in an amountthatreflects the
  defendant'srelativerolè in thecausalprocessthatunderliesthevictimsilosses,butnotlessthan

  $3,000pervictim . Thedefendantagreesandunderstandsthatany paym entscheduleim posed by

  theCourtiswithoutprejudicetotheUnitedStatestotakea1lactionsandtakeal1remediesavailable
  to itto collectthe fu11am ountofthe restitution.

         7      Thisofttcereservestherighttoinform theCourtand theprobation officeofal1
  factspertinentto the sentencing process,including al1relevant.infbnnation concenzing $he offenses

  comm itted,whether charged or not,as well as concem ing the defendant and the defendant's

  background. Subjecto'nlytotheexpresstennsofany agreed-uponsentencingrecommendations
  containedin thisagreem ent,thisOffice furtherreservestherightto m akeany recomm endation as

  tothequality and quantity ofpunishment.

         8.     ThisOffice agreesthatitwillrecomm qnd atsentencing thatthe Courtreduce by
  two levelsthe sentencingguidelinelevelapplicabletothedefendant'soffense,pursuantto Section

  3E1.1(a)ofthe Sentencing Guidelines,based upon the defendant'srecognition and affirmative
                     '

  and timely acceptance èfpersonalrespohsibility.If atthetime ofsentencing the defendant's
  offense level is detennined to be 16 or greater, this Oftice will file a m otion requesting an

  additionaloneleveldecreasepursuantto Section 3E1.1(b)ofthe SentencingGuidelines,stating
  that the defendanthas assisted authorities in the investigation or prosecution of the defendant's
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  own m isconductby tim ely notifying authorities ofthe defendant's intention to enter a plea of

  guilty, thereby perm itting the governm ent to avoid preparing for trial and permitting the

  govem mentandtheCourtto allocatetheirresourceseY ciently.ThisOffice,however,willnotbe

 required to makethismotion ifthe defendant:(1)failsorrefusesto make a 111,accurate and
  complete disclosureto theprobation office ofthe circumstancessurm tmding therelevantoffense

  conduct;(2)isfoundtohavemisrepresentedfactstothegovernm'
                                                         entpriortoenteringintothisplea
  agreement;or(3)commitsanymisconductafterentering intothispleaagreement,inclùding but
 notlim ited to com m itting a state orfederaloffense,violating any term ofrelease,orm aking false

  statem entsormisrepresentationsto any govemm entalentity orofficial.
                                    :
         9.     This Office and the defendantagree that,although notbinding on the probation

 officeortheCourt,theywilljointlyrecommend thattheCourtmakethefbllowing tindingsand
 conclusionsasto thesentenceto beim posed:

     @ Thebaseoffenselevelis22.SeeUSSG j2G2.2(a).
     @ A 2-1eve1increajebecausethematerialsthe defendantpossessed involved aprepubescent
        minororminorwhohadnotattainedtheageof12years.USSG j2G2.2(b)(2).
     * A 2-1eve1increase because the defendantknowingly engaged in distribution,otherthan
        distributiondescribedin subdivisions(A)through(E).USSG j2G2.2(b)(3)(F).
     * A 4-levelincrease becausethe materialsportray (A)sadistic ormasoclzisticconductor
       otherdepictionsofviolence;or(B)sexualabuseorexploitation ofan infantortoddler.
       USSG j2G2.2(b)(4).
     * A 2-levelincrease because the offense involved the use ofa computeroran interactive
       com puter service for the possession,transm ission,receipt,ordistribution of the m aterial.
        USSG j2G2.2(b)(6).
     . A 5-1evel increase because the offense involved 600 or more images. USSG j
       2G2.2(b)(7)(D).


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                                                                                                         i
             Thçpartiesremainfreetoarguefororagainstanyotherenhancementsoradjustmentsthey                '
      believeapply in thiscase.

             10.       Thedefendantisawarethatthesentencehasnotyetbeçn determined by the Court.

      Thedefenàantalsoisawarethatanyestimateoftheprobablèsentencingrangeorsentencethatthe
      defendantmay receive,whetherthatejtimatecom esfrom thedefendant'sattom ey,thisOftice,or
      theprobation office,isaprediction,notaprom ih
                                                  se,and isnotbinding on thisOflk e,theprobation

      officeorthe Court.Thedefendantunderstandsfurtherthatany recom mendation thatthis Office

      m akesto theC ourtasto sentencing,whetherpursuanttothisagreem entorotherwise,is'
                   .
                                                                                     notbinding

      on the.courtand the Courtmay disregard the recommendation in its entirety. The defendant

      understands and acknowledges,as previously acknowledged in paragraph 3 above, that the

      defendantm ay notwithdraw hisplea based'upon the Court'sdecision notto accepta sentencing

      recom
          'mendation madeby thedefendant,thisOftke,orarecommendation madejointly by the
      defendantandthisOffice.

                       Thedefendantagrees,in anindividualandalzyothercapacitytoforfeittotheUnited

      States,voluqtarily and im mediately,allrights,title,and interestto;any visualdepiction described

      in Title 18,UnitedStatesCode,Sections2251,22514 ,or2252,oyany book,m agazine,periodical,

      film,videotape,orotherm atterwhich containsany such visualdepictioh,which wasproduced,

      transported,m ailed,shipped orreceived in violation ofTitle 18,United StatesCode,Chapter110;

      any property,realorpersonal,constitutingortraceableto grossprofitsorotherproceedsobtained

      from theoffenseto which thedefendantispleading guilty;andany property,realorpersonal,used

      orintended to be used to com m itor to prom ote the com m ission ofsuch offense pursuantto Title




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  18,United StatesCode,Section 2253($.Theproperty subjecttoforfeitureincludes,butisnot
  lim itedto,directly forfeitableproperty including:

     * One(1)iphone 11bearingIM EINumber352845115673610.
         12.    The defendantfurtheragreesthatforfeiture isindependentofany assessm ent,fine,

  cost,restitution,orpenalty thatm ay be imposed by the Court. The defendantknowingly and

  voluntarily agrees to waive a11 constitutional,legal,and equitable defenses to thç forfeiture,

  including excessive fines under the Eighth Amendm entto the United States Constitution. ln

  addition,thedefendantagreestowaive any applicabletimelimitsforadministrative orjudicial
  forfeitures,therequirementsofFed.R.Crim.P.32.2 alzd43(a),andanyappealoftheforfeiture.
                Thedefendantalso agreesto fully and truthfully disclosethe existence,nature,and

  location ofal1assetsin which thedefendanthasorhad any directorindirectfnancialinterest,or

  exercisesor exercised control,directly orindirectly,and any assetsobtained as a resultofthe

  offenses of conviction.The defendantalso agreesto take a11steps requested to effecmate the

  recovery andforfeitureofal1assetsidentifiedby theUrlited Statesasbeing subjecttofolfeiture.
  This includes,butis notlimited to,the delivery upon requestofa11necessaly and appropriate

  documentationto delivergood and m arketabletitle,consenting to allordersofforfeiture,and not

  contestingorimpedtngin any criminal,civiloradministrativeforfeitureproceedingsconcerning
  such property.

         14.    The defendantunderstandsthatby pleading guilty,he willberequired to register

  asasex offenderupon hisreleasefrom prisonasacondition ofsupervisedreleasepursuantto Title

  18, United States Code, Section 35834*.Defendant also understands that independent of
  supervisedrelease,hewillbesubjecttofederalandstatesex offenderregistration requirements,


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  and thatthose requirem entsm ay apply throughoutdefendant'slife. Defendanttmderstandsthat

 he shallkeep hisregistration current,shallnotify the state sex offenderiegistration agency or

 agenciesofany changesto defendant'snnm e,placeofresidence,employm ent,orstudentstam s,

 orotherrelevantinformation.Defendantshallcom ply with requirementsto periodically verify in

 person defendant'ssex offenderregistration information. Defendantunderstandsthathe willbç

 subjecttopossiblefederaland statepenaltiesforfailureto comply with any such sex offender
 registrationrequirem ents.lfdefendantresidesin Floridafollowing release from prisonjdefendant

 willbe subjectto the mgistration requirementsofFlorida Statute,Sectipn 775.21. Defendant '
 furthèr understandsthat,underTitle 18,United States Code,Section 4042(c),notice willbe
 provided to certain 1aw enforcem ent agencies upon defendant's release from continem ent

  folloFing conviction.

         15.    Asa condition ofsupervised release,the defendantshallinitially registerwith the

  state sex offender registration in Florida and shall also register with the state sex offender

 registrationagency in any statewherethedefendantresides,isempioyed,works,orisastudent,
 asdirected by theProbation Officer.Thedefendantshallcomply with allrequirementsoffederal

  and state sex offender registration laws, including the requirement to update defendant's

 registration information. Defendantshallprovideproofofregistration to the Probation Officer

 w ithin 72 hours ofrelease from im prisonm ent.



                          (SPACE INTENTIONALLY LEFT BLANK)
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          16.   This is the entire agreement and understanding between this Office and the

  defendant. Thereareno otheragreem ents,prom ises,representations,orunderstandings.


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